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                     IN THE UNITED STATES DISTRICT COURT FOR
                       THE NORTHERN DISTRICT OF OKLAHOMA

 MARILYN PHILLILPS,                           )
                                              )
                       Plaintiff,             )
                                              )
 v.                                           )           Case No. 17-CV-547-JHP-JFJ
                                              )
 FARMERS INSURANCE                            )
 COMPANY, INC.,                               )
                                              )
                       Defendant.             )

           PLAINTIFF'S RESPONSE TO DEFENDANT'S MOTION IN LIMINE

        The Defendant has filed a Motion in Limine [Doc. 31] that addresses two subjects, to wit;

 admissibility of medical bills and testimony regarding percentages of disability.

 1.   PLAINTIFF IS NOT ASKING FOR DAMAGES FOR PAST MEDICAL BILLS SO
 THE DEFENDANT’S ARGUMENT REGARFDING 12 O.S. §3009.1 IS MOOT

        As noted in her Motion in Limine [Doc. 32], Plaintiff is not asking for damages for past

 medical bills. Therefore, the Defendant’s Motion in Limine regarding the admissibility of the

 amount of medical bills paid versus the amount incurred is moot.

 2.   TESTIMONY REGARDING PERCENTAGES OF DISABILITY IS RELEVANT
 AND ADMISSIBLE

        In Witt v. Martin, 1983 OK CIV APP 33, the Plaintiffs were in a wreck and sued for

 damages. The jury awarded on damages to the Plaintiffs and they appealed. The Court of

 Appeals held “reversible error permeated the trial” and remanded the case for a new trial.

        One of the issues in the case was the trial court’s rejection of expert testimony expressing

 plaintiff’s disability in terms of percentages. Defendants filed a motion in limine to exclude

 percentages of disability found by the Workers’ Compensation Court. The trial court sustained

 the motion. Plaintiffs argued on appeal that the ruling “seriously hampered plaintiffs’ efforts to
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 bring out percentage of disability testimony from their physicians.” The Court of Civil Appeals

 held “No rule of law forbids a medical expert witness to express an opinion regarding the

 percentage of disability a party has sustained. Admittedly percentage testimony is not common

 in personal injury actions, but the reason is related to strategy rather than admissibility.” 1983

 OK CIV APP 33, ¶¶96-99.

        Defendant cites Thompson v. Walton, 1956 OK 173 as the only case that supports its

 position.   Defendant cites part but not all of the holding regarding the admissibility of

 percentages of disability. After the sentence quoted by the Defendant, the Court said “Other

 elements are to be taken into consideration, such as past physical pain and suffering, probable

 future pain and suffering, whether the injury is permanent or temporary, etc.” 1956 OK 173,

 ¶20. The Court went on to say that “Though cognizant of the fact that damages are not measured

 by under the rules applicable in workers’ compensation cases, we fail to see how defendants

 could be prejudiced by the testimony of plaintiff’s physicians fixing disability as 20 per cent of

 the whole body. Such testimony, at most, could only go to one of the elements to be considered

 by the jury in fixing the amount of damages, that is, loss of earning power.” Id at ¶21.

        OUJI 4.1 tells the jury it can consider, among other things, whether the Plaintiff’s injuries

 are permanent and the nature and extent of the Plaintiff’s injuries. What better way to help the

 jury to determine whether an injury is permanent than to rely on the AMA Guides to the

 Evaluation of Permanent Impairment, which are established and approved by the American

 Medical Association?

        In this case, the only dispute is in fact the cause, nature and extent and permanency of

 Ms. Phillips’ injuries. Dr. Hastings is the only doctor in the case who has both personal

 examined Ms. Phillips (twice) and has reviewed all of her medical records.            In 2016, Dr.



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 Hastings prepared a very lengthy report setting forth his findings and supplement his report in

 2018. The Plaintiff has identified his findings and percentages of disability in the pretrial order.

         Dr. Hastings’ methodology is sound as he follows the published guidelines to the

 evaluation of permanent impairment published by the largest medical association in the country.

 The evidence is relevant because it tends to prove the permanency and nature and extent of Ms.

 Phillips injuries.

         The law seems to be clear that such testimony is admissible.

                                                               Respectfully Submitted:

                                                       By:     s/Anthony M. Laizure
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                                  CERTIFICATE OF SERVICE

         The undersigned does hereby certify that on the 15th day of June, 2018, I electronically
 transmitted the attached document to the Clerk of Court using the ECF System for filing. Based
 on the records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
 the following ECF registrants:

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                                                       s/Anthony M. Laizure
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